          Case 1:21-cr-00131-PLF Document 71 Filed 11/16/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Crim. No. 1:21-cr-00131-PLF
JASON GERDING, and                           :
CHRISTINA GERDING                            :
                                             :
               Defendants.                   :

                                   NOTICE TO THE COURT

       The United States of America and their undersigned counsel comes now for its Notice to

the Court and states as follows:

   1. Pursuant to the Court’s November 9, 2022 Order, the parties have conferred regarding the

       status of the case and setting the next scheduling conference.

   2. The parties note that there are no new developments in the case in that a pretrial

       disposition has not been met.

   3. The parties are available for a Status Conference on either December 21, 2022, after

       12:30 EST or on December 22, 2022 after noon EST.




                                                 1
Case 1:21-cr-00131-PLF Document 71 Filed 11/16/22 Page 2 of 2




                           Respectfully submitted,

                          MATTHEW M. GRAVES
                          United States Attorney
                          DC Bar No. 481052

                          /s/ Anthony L. Franks
                          ANTHONY L. FRANKS
                          Missouri Bar No. 50217MO
                          Assistant United States Attorney
                          Detailee – Federal Major Crimes
                          United States Attorney’s Office
                          For the District of Columbia
                          Telephone No. (314) 539-3995
                          anthony.franks@usdoj.gov

                          /s/ Nialah S. Ferrer
                           Nialah S. Ferrer
                           Assistant United States Attorney
                           601 D Street NW
                           Suite 6-1301
                           Washington, DC 20530
                           202-252-7485
                           nialah.ferrer@usdoj.gov

                          AND

                          J. KRAMER FEDERAL PUBLIC DEFENDER
                          By: /s/ Eugene Ohm
                          EUGENE OHM
                          Assistant Federal Public Defender
                          625 Indiana Avenue, N.W., Suite 550 Washington,
                           D.C. 20004
                          (202) 208-7500
                          Counsel for Defendant Jason Gerding

                          JERRY RAY SMITH, JR., ATTORNEY AT LAW
                          By: /s/ Jerry Ray Smith, Jr.
                          JERRY RAY SMITH, JR.
                          717 D Street, NW, Suite 310
                          Washington, DC 20004-2812
                          Counsel for Defendant Christina Gerding




                              2
